      Case 3:20-cr-00249-RS    Document 255    Filed 12/14/23   Page 1 of 13
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 1                      UNITED STATES DISTRICT COURT

 2                IN THE NORTHERN DISTRICT OF CALIFORNIA

 3                            SAN FRANCISCO DIVISION
                                 _________________
 4

 5   United States of America,     )
                                   )          No. 3:20-cr-00249-RS-1
 6            Plaintiff,           )
                                   )
 7            vs.                  )              San Francisco, California
                                   )              November 14, 2023
 8   Rowland Marcus Andrade,       )              2:29 p.m.
                                   )
 9            Defendant.           )
     _____________________________ )
10

11        BEFORE:    THE HONORABLE RICHARD SEEBORG, CHIEF JUDGE

12
                    REPORTER'S TRANSCRIPT OF PROCEEDINGS
13

14                       STATUS CONFERENCE VIA ZOOM

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     Official Court Reporter:
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25


                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS   Document 255   Filed 12/14/23   Page 2 of 13
                                                                             2


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                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS   Document 255   Filed 12/14/23   Page 3 of 13
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 1                         P R O C E E D I N G S

 2            (Proceedings convened at 2:29 p.m.)

 3            THE COURTROOM DEPUTY:      Calling case 20-cr-249, United

 4   States vs. Rowland Marcus Andrade.

 5            Counsel, please state your appearances, starting with

 6   the government.

 7            MR. HIGHSMITH:     Good afternoon, Your Honor.         Chris

 8   Highsmith and David Ward for the United States.

 9            THE COURT:      Good afternoon.

10            MR. SHEPARD:     And good afternoon, Your Honor.          Michael

11   Shepard, Cindy Diamond, Kerrie Dent for the defendant, Rowland

12   Marcus Andrade, who is present by Zoom, consents to proceed in

13   that fashion and appreciates the court's willingness to let him

14   do so.

15            THE COURT:      Good afternoon.

16            So how are we doing headed towards the March 11th

17   trial?

18            Go ahead, Mr. Highsmith.

19            MR. HIGHSMITH:     I'm sorry, Your Honor.

20            The government is -- would like to proceed in the

21   March 11th trial.

22            I'll represent to the court something I did not say

23   before which is in the government's view, it's a fairly

24   straightforward case.     We anticipate five days of government

25   presentation, so a fairly streamlined case.


                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS    Document 255   Filed 12/14/23    Page 4 of 13
                                                                                   4


 1              And we -- Mr. Ward this morning shared a pretrial

 2   scheduling order with the defense so that we could try to work

 3   through some of the pretrial scheduling issues and so that's,

 4   in a nutshell, the government's position on trial.             We're ready

 5   to go forward.     We'd like to go forward.       It's been quite a

 6   while since this case was charged.

 7              THE COURT:     Okay.   Mr. Shepard.

 8              MR. SHEPARD:    Well, we took the court's words at the

 9   last status very seriously and we've been very focused on trial

10   preparation, but the status is that we're still reviewing

11   documents and we will be for a while.         And some of our trial

12   prep -- obviously we're working hard on trial prep, but some of

13   our trial prep is necessarily going to trail the completion of

14   document review.

15              And the reason that we're still reviewing documents --

16   and I realize it's been a while since the case was indicted.

17   The reason we're still reviewing documents is because of

18   belated production of those documents by the government.                  And I

19   want to be clear that this is not the kitchen sink of documents

20   that we're still reviewing.       This is material at the core of

21   Rule 16.   A big hunk of it is material that was seized from our

22   client but not produced until about two and a half years after

23   indictment.   That is, it was produced in December of last year

24   and it's massive, 18, I believe, different devices of his that

25   were produced to us in December of last year.             And not because


                        UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS    Document 255   Filed 12/14/23   Page 5 of 13
                                                                                 5


 1   it wasn't requested.      It was.    A lot -- another hunk of what

 2   we're still reviewing is information found to be material to

 3   the preparation of our defense by Judge Beeler after the

 4   government objected to producing it.        That information, another

 5   large hunk of material, was produced in many instances over a

 6   year after it was requested.        Some of it we're still waiting

 7   on.

 8            And I would add, briefly, that when it's finally

 9   produced, the material is often a mess.         It's not individually

10   Bates numbered.   It's not reviewable.        It's not searchable.

11   Sometimes it isn't even in the same page order as the original.

12            And we still have a few other discovery issues being

13   addressed by Judge Beeler and/or between the parties.             And not

14   only has our review and trial prep been delayed as a result of

15   that belated discovery, but we're spending a lot of time

16   getting material that should have been turned over to us

17   without a fight and should have actually been turned over

18   before we even came into the case.        Judge Beeler urged the

19   government several times just to turn material over and they

20   declined to do so.

21            To give you an idea of the magnitude, we're reviewing

22   nearly four terabytes of data and this is just government

23   productions.   We're not talking about anything else we may have

24   been working on, just the government productions, nearly four

25   terabytes of data.       As I say, the vast bulk of that was


                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS   Document 255    Filed 12/14/23   Page 6 of 13
                                                                                    6


 1   produced after our second motion to compel which was filed a

 2   little -- it was filed at the end of November of last year.

 3   And that -- if we say conservatively three terabytes, I think

 4   it's probably closer to four, that's about 30 million

 5   documents.   And I'm not suggesting to the court that we're

 6   looking at 30 million documents because obviously we're not.

 7   We have an excellent discovery center at our firm in Atlanta

 8   and they've devoted a lot of work and attention to this.                 You

 9   know, the sort of deduping and threading and running search

10   terms whenever that's appropriate and that can reduce the

11   volume so far, in our experience, down to like 4 percent,

12   sometimes a little less, but 4 percent of the total number of

13   documents, but that still leaves us 1.2 million documents and

14   some of these documents are big.

15            THE COURT:      Well, you know, you can appreciate that

16   when these type of facts are laid out to me -- and I often hear

17   these in the white collar cases, oh, there's so many documents,

18   that taken to its logical extreme, we will never go to trial.

19   That obviously is not an option.

20            The question really is not -- even if there's been

21   delay -- and I don't see any reason to jump into that pool to

22   hash that out at the moment -- the question is the time

23   remaining between now and trial to get the case ready.             There's

24   now almost six months remaining.        And, you know, I'm sure it's

25   a different case but I'm -- you know, I note that the


                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS    Document 255   Filed 12/14/23   Page 7 of 13
                                                                                   7


 1   Bankman-Fried trial in New York went to trial, what, about a

 2   year and it was initially characterized as the most complicated

 3   thing in the Western world.       Judge Kaplan was able to get that

 4   trial through in -- obviously it seemed did a fine job and got

 5   it all tried.   So there's no reason why this trial can't go

 6   forward as scheduled and it's my intention to have it go

 7   forward as scheduled.       At the same time acknowledging the

 8   extraordinary work, Mr. Shepard, you and your colleagues have

 9   done in this case.       I know how much work you've put into it and

10   I'm grateful for that, but at this point, with these many

11   months remaining, I don't see any reason why the schedule

12   should be adjusted, because I think we should plan on going

13   forward in March.      You know, you're always going to be in the

14   position that there's an enormous amount of material and I --

15   as I say, if, you know, every time that is discussed, it leads

16   to another multimonth continuance, I will be long retired and

17   you will be, too, and this case isn't going to get tried.                So

18   we got to move it along.       Just have to move it along.

19            MR. SHEPARD:       I appreciate that, Your Honor, and I

20   would love to move the case along.        I don't want to move the

21   case along at a pace where I don't think I can give my client a

22   fair trial.   And --

23            THE COURT:       Well, but that's --

24            MR. SHEPARD:       -- I'm not suggesting that we never --

25   I'm sorry.    Didn't mean to interrupt the court.


                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS     Document 255   Filed 12/14/23   Page 8 of 13
                                                                                8


 1               THE COURT:     Well, I'm just saying that, you know, an

 2   enormous amount -- Mr. Andrade has gotten extraordinary

 3   representation.     You put in an enormous amount of time already,

 4   you and your colleagues.       At a certain point the case has to go

 5   to trial.     It just -- it can't stay in limbo with more and more

 6   materials being examined.

 7               I understand you don't -- you don't buy into the

 8   government's characterization that this is a straightforward

 9   case.   I know your position that it's anything but.             Okay.

10   But, you know, even assuming that the defense perspective is

11   going to be it's a very complicated business, it's still has

12   got to be ready to go to trial.

13               Tell me when you think this case would be able to go

14   to trial.

15               MR. SHEPARD:    I think -- and I appreciate the

16   question.     I'm not suggesting the case could never go to trial.

17               I think the soonest we might possibly be ready for

18   trial would be an additional four months from the scheduled

19   trial date.    And by my math -- and my math is poor -- we're

20   four months away from trial and it's not -- it's not -- I don't

21   want the court just to think that it's my position that this is

22   a complicated case.      A lot of this discovery was litigated in

23   front of Judge Beeler, who ruled in our favor on these -- on

24   the reasons why we think we were entitled to discovery over the

25   government's objection.       She ordered the discovery.         And the


                        UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS    Document 255   Filed 12/14/23   Page 9 of 13
                                                                              9


 1   reason why we're still here is that some of those requests

 2   were -- we finally got the material over a year after we asked

 3   for it.   And so the government shouldn't be allowed to delay

 4   production of material that has to be produced and push the

 5   case to trial and rob the defense of the ability to prepare

 6   efficiently and fully.

 7             THE COURT:      Your proposition I don't disagree with,

 8   but the focus is and the question is not, you know, delay from

 9   your perspective -- I know the government will say they didn't

10   delay or whatever.       But whatever that truth is, it's somewhat

11   irrelevant because the question going forward is how much more

12   time is needed, not how much -- you know, could it have been

13   done faster if the government had moved faster from your

14   perspective or what have you, that's water under the bridge.

15   The question now is how much time we need to have before this

16   case is ready to go to trial.       Because I think I made it pretty

17   clear that I -- it's not just a situation where I'm going to

18   have these periodic meetings and I'm going to hear how many

19   bazillion pieces of material is out there and I'm going to

20   continue it again for another enormous chunk of time.             The case

21   needs to come to its conclusion, one way or the other.             So as I

22   say, I want to proceed as scheduled.

23             Now, if the two sides -- if the government wants to

24   take you at your estimate and say, all right, you've said

25   it's -- you need three to four months more, we'll buy into


                       UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS     Document 255    Filed 12/14/23   Page 10 of 13
                                                                                   10


 1   that, but by doing that, you know, that's going to be the end

 2   of the line, it wouldn't be a bad approach for them to take and

 3   give me a stipulation to do it.           But at the moment, I'm going

 4   to leave things as they are.

 5               I'm going to schedule another status conference

 6   probably -- we'll do it in January and see where we are.                But

 7   I'm loathed to move -- I'm not going to move a trial date based

 8   on what I've heard today because there's several months --

 9   maybe your math is right, Mr. Shepard.            I'm not questioning

10   you.   Maybe it's five.      We'll say I said six, you said four,

11   let's say five for purposes of discussion.             That still seems to

12   be a lot of time to me but, you know, we'll see where we are in

13   January.

14               MR. SHEPARD:    Understood, Your Honor.         And like I say,

15   we're moving as quickly as we can but that's not a lot of time

16   when you are talking about terabytes of data.

17               THE COURT:     No, I --

18               MR. SHEPARD:    And I don't think there's any -- there's

19   ultimately going to be any dispute about how much time there

20   has been between when we first requested these items that we're

21   still reviewing and when the government produced them.

22               THE COURT:     Right.     And as we all know, one thing is

23   quite clear, terabytes of data are not being admitted into

24   evidence.    It's going to be a lot more streamlined than that.

25               Okay.   Well, we're -- I'm going to leave things as


                         UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS     Document 255   Filed 12/14/23   Page 11 of 13
                                                                                11


 1   they are.

 2               Ms. Lew, can we have a -- do you want it again Zoom

 3   status?

 4               MR. SHEPARD:    Yes, Your Honor.

 5               THE COURT:     Okay.

 6               MR. SHEPARD:    It's just a costly and --

 7               THE COURT:     No, no.   That's fine.     And I will say --

 8   and I appreciate the waiver.         I accept the waiver.       I actually

 9   take the position, just so it's clear on the record, that I

10   think under the criminal rules, we can have scheduling

11   conferences without even the need for that because I think it

12   is something that can be done.

13               As you know, the CARES Act has expired so there's a

14   bit of a gray area on what can still be done by Zoom or not but

15   I think scheduling conferences can be done.            They could be done

16   even before the Covid emergency decrees, so I think we can do

17   this and I think I could just do it even without a waiver, but

18   I appreciate the waiver.        I'll take it.

19               So we'll do it by Zoom.       January Zoom date.

20               THE COURTROOM DEPUTY:      January 23rd.

21               THE COURT:     Okay.   January 23rd at 2:30.       We're going

22   to keep the current schedule as is.

23               Again, I sort of encourage Mr. Ward and Mr. Highsmith

24   to talk to you, Mr. Shepard, and, you know, if there's some

25   adjustment that you want to jointly propose with the


                        UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS   Document 255    Filed 12/14/23   Page 12 of 13
                                                                               12


 1   understanding that you're bringing this to a conclusion and

 2   everybody expects this time it's going to go at that date, I

 3   wouldn't be adverse to that.

 4             Okay.   Very good.      Anything else today?

 5             MR. HIGHSMITH:       We'll prepare the order to exclude

 6   time.

 7             THE COURT:     Oh.     Speedy trial -- pardon?

 8             MR. HIGHSMITH:       We'll prepare a proposed order to

 9   exclude time.

10             THE COURT:     Yes.     I assume, Mr. Shepard, you're

11   agreeable to exclude time?

12             MR. SHEPARD:    You are correct, Your Honor.

13             THE COURT:     Okay.    Yes.   Thank you, Mr. Highsmith.        If

14   you could give me that declaration.

15             Okay.   Very good.      Thank you.    Good luck.

16             MR. SHEPARD:    Thank you, Your Honor.

17             THE COURT:     See ya.

18             (Proceedings adjourned at 2:45 p.m.)

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                        UNITED STATES DISTRICT COURT
      Case 3:20-cr-00249-RS   Document 255   Filed 12/14/23   Page 13 of 13
                                                                              13


 1                            C E R T I F I C A T E

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 3             I, SCOTT M. CONIAM, do herby certify that I am duly

 4   appointed and qualified to act as Official Court Reporter for

 5   the United State District Court.

 6             I FURTHER CERTIFY that the foregoing pages constitute

 7   a full, true, and accurate transcript of all of that portion of

 8   the proceedings contained herein, had in the above-entitled

 9   cause on the date specified therein, and that said transcript

10   was prepared under my direction and control.

11             DATED this 14th day of December 2023.

12

13
                     s/Scott M. Coniam_____________
14                     SCOTT M. CONIAM, RDR, CRR

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                        UNITED STATES DISTRICT COURT
